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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                             Case No. 23-CR-264-GKF

DANIEL LAWRENCE CHARBA,

                    Defendant.

                                 Entry of Appearance

     The United States of America, by Reagan V. Reininger, Assistant United States

Attorney for the Northern District of Oklahoma, hereby enters her appearance as

counsel to prosecute any forfeiture matters of the case for the United States of

America.

                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        UNITED STATES ATTORNEY



                                        /s/ Reagan V. Reininger
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                               Certificate of Service

   I hereby certify that on August 29, 2023, the foregoing document was
electronically transmitted to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to counsel of record.


                                       /s/ Janna Tomah_____________________
                                       JANNA TOMAH, Data Analyst




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